
78 N.Y.2d 1069 (1991)
The People of the State of New York, Appellant,
v.
Benjamin Seegars, Respondent.
Court of Appeals of the State of New York.
Decided October 24, 1991.
Robert T. Johnson, District Attorney (Richard Sheridan of counsel), for appellant.
Daniel M. Felber for respondent.
Concur: Chief Judge WACHTLER and Judges SIMONS, KAYE, ALEXANDER, TITONE, HANCOCK, JR., and BELLACOSA.
On review of submissions pursuant to section 500.4 of the Rules of the Court of Appeals (22 NYCRR 500.4), appeal dismissed upon the ground that the reversal by the Appellate Division was not "on the law alone or upon the law and such facts which, but for the determination of law, would not have led to reversal" (CPL 450.90 [2] [a]).
